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    ✁    ✂   ✄   ☎   ✆   ✝   ✞   ✟                                                       ✍   ✕
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    ✁    ✂   ✄   ☎   ✆   ✝   ✞   ✟                                                       ✍   ✖
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                                                                    ✩




                                                                        ☞




    ✁    ✂   ✄   ☎   ✆   ✝   ✞   ✟                                                       ✍   ✗
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                                                                                                 ✎   ✏




✑       ✎       ✒




            ✁       ✂   ✄   ☎   ✆   ✝   ✞   ✟                                                            ✍   ✘
        Case 2:13-cv-03016-TOR       ECF No. 1-1   filed 02/14/13   PageID.29 Page 5 of 24




    ✁    ✂   ✄   ☎   ✆   ✝   ✞   ✟                                                       ✍   ✙
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    ✁    ✂   ✄   ☎   ✆   ✝   ✞   ✟                                                       ✓   ✚
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                                                                     ✩




                                                                         ☞




    ✁    ✂   ✄   ☎   ✆   ✝   ✞   ✟                                                       ✓   ✠
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    ✁    ✂   ✄   ☎   ✆   ✝   ✞   ✟                                                       ✓   ✍
        Case 2:13-cv-03016-TOR       ECF No. 1-1   filed 02/14/13   PageID.33 Page 9 of 24




    ✁    ✂   ✄   ☎   ✆   ✝   ✞   ✟                                                       ✓   ✓
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    ✁   ✂   ✄   ☎   ✆   ✝   ✞   ✟                                                       ✓   ✔
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    ✁   ✂   ✄   ☎   ✆   ✝   ✞   ✟                                                       ✓   ✕
    Case 2:13-cv-03016-TOR          ECF No. 1-1   filed 02/14/13   PageID.36 Page 12 of 24




    ✁   ✂   ✄   ☎   ✆   ✝   ✞   ✟                                                       ✓   ✖
    Case 2:13-cv-03016-TOR          ECF No. 1-1   filed 02/14/13   PageID.37 Page 13 of 24




    ✁   ✂   ✄   ☎   ✆   ✝   ✞   ✟                                                       ✓   ✗
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    ✁   ✂   ✄   ☎   ✆   ✝   ✞   ✟                                                       ✓   ✘
        Case 2:13-cv-03016-TOR                                                                                   ECF No. 1-1   filed 02/14/13                                                                                                                                      PageID.39 Page 15 of 24




                                                                                                                                                                                                                                                                                                                                                                                                                                                ✛




                                                                                                                                       ★               ✎               ☛       ☞           ✣       ☛           ✜               ✡       ☞           ✭           ✣       ✑           ✑               ✣   ✧               ☛                    ✏       ✧               ✮       ✡       ✑   ✯           ✣   ☛       ✜           ✏   ✧       ☛           ✏   ✡   ✏       ✎




                                                                                                                               ✰




                                                                                                                                           ✡               ✢




                                                                                                                                       ★           ✢               ✧               ✯           ✡           ✤               ✌       ✣       ✤   ✎           ✡                   ★       ★                   ✦       ✣            ✤       ✡               ✏   ✣   ✧       ☛       ★           ✎   ☛           ☞       ✣   ☛           ✜       ✱




    ✪




            ✧   ✥       ☛       ✑       ✎       ✦   ✫       ✧       ✢       ✬   ✦   ✡   ✣   ☛   ✏   ✣✫   ✫   ✑




                                                                                                                                   ✪




                                                                                                                                               ✧               ✥           ☛           ✑               ✎           ✦   ✫       ✧       ✢               ✬           ✦       ✡               ✣   ☛               ✏           ✣✫       ✫           ✑




        ✁           ✂       ✄       ☎       ✆           ✝       ✞       ✟                                                                                                                                                                                                                                                                                                                                                                                       ✓       ✙
            Case 2:13-cv-03016-TOR                                                                                                                                                                           ECF No. 1-1             filed 02/14/13                                                                                                          PageID.40 Page 16 of 24




    ✲                                                                                                                                                                                                                                    ✲




        ★           ✢       ✧           ✯           ✡           ✤                   ✌           ✣       ✤       ✎       ✡           ★   ★           ✦       ✣        ✤       ✡       ✏   ✣   ✧   ☛   ★   ✎   ☛   ☞   ✣   ☛   ✜   ✱           ★               ✢       ✧                   ✯       ✡       ✤           ✌       ✣       ✤   ✎       ✡           ★   ★           ✦       ✣        ✤       ✡       ✏   ✣   ✧           ☛           ★           ✎       ☛       ☞       ✣   ☛       ✜   ✱




                                                                                                                                                                                                                                             ★               ✢       ✧                   ✯       ✡       ✤           ✌       ✣       ✤   ✎       ✡           ★   ★           ✦       ✣        ✤       ✡       ✏   ✣       ✧       ☛           ★           ✎       ☛       ☞       ✣   ☛       ✜   ✱




    ✪




                ✧       ✥           ☛           ✑           ✎           ✦   ✫           ✧           ✢               ✬       ✦   ✡           ✣   ☛       ✏       ✣✫       ✫       ✑




                                                                                                                                                                                                                                         ✪                                                                                                                                                                ✪




                                                                                                                                                                                                                                                     ✧           ✥           ☛               ✑       ✎       ✦   ✫       ✧       ✢           ✬       ✦   ✡           ✣   ☛       ✏       ✣✫       ✫                           ✎       ☛   ✏       ✎   ✢       ✫       ✧       ✢           ✳           ✧   ✧   ☞




                                                                                                                                                                                                                                     ✛




                                                                                                                                                                                                                                                 ✡       ✫               ✎       ✏   ✴




            ✁                   ✂           ✄           ☎           ✆           ✝           ✞               ✟                                                                                                                                                                                                                                                                                                                                                                                                     ✔   ✚
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                              ✵   ✶   ✶   ✵   ✷   ✸   ✹   ✺   ✻   ✶   ✼
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